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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION


 ROTHSCHILD BROADCAST DISTRIBUTION                       CASE NO. 6:15-CV-527 RWS-JDL
 SYSTEMS, LLC,

                  Plaintiff,
                                                         JURY TRIAL DEMANDED
         v.

 VZAAR, INC.,

                  Defendant.



                                  ORDER OF DISMISSAL
         .
         Before the Court is Plaintiff Rothschild Broadcast Distribution Systems, LLC and

 Defendant Vzaar, Inc.’s Joint Motion to Dismiss. The Court, having reviewed the motion, and

 being well-advised, finds that the motion should be and is GRANTED. It is therefore

         ORDERED that all claims asserted against Vzaar, Inc. in the above-captioned action are

 DISMISSED WITH PREJUDICE. Each party shall bear its own costs, expenses, and attorneys’

 fees.
               SIGNED this 19th day of December, 2011.
              So ORDERED and SIGNED this 4th day of September, 2015.




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